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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF NEW YORK

 DISH NETWORK L.L.C.
 and NAGRASTAR LLC,                                 Case No. 5:19-CV-1310 MAD/ATB

        Plaintiffs,

        v.

 DEBRA HENDERSON, JOHN
 HENDERSON, and BOOM MEDIA LLC,

        Defendants.


        PLAINTIFFS’ MOTION FOR CERTIFICATE OF ENTRY OF DEFAULT

       Pursuant to Fed. R. Civ. P. 55(a) and Local Rule 55.1, Plaintiffs DISH Network L.L.C. and

NagraStar LLC (“Plaintiffs”) request the Clerk’s certificate of entry of default against Defendants

Debra Henderson, John Henderson, and Boom Media LLC (“Defendants”) and in support state:

       1.      Defendants John Henderson and Boom Media LLC were properly served with the

summons and complaint on October 30, 2019. (Dkts. 10-11; Frank Decl. ¶ 2.) Defendant Debra

Henderson was properly served with the summons and complaint on October 31, 2019. (Dkt. 12;

Frank Decl. ¶ 3.)

       2.      On December 4, 2019, the Court granted Defendants’ first request for extension of

time to respond to the complaint, making the response deadline December 9, 2019. (Dkt. 15.)

       3.      On December 13, 2019, the Court granted Defendants’ second request for extension

of time to respond to the complaint, making the response deadline December 24, 2019. (Dkt. 17.)

       4.      Defendants have not answered or otherwise responded to the complaint as provided

for in the Federal Rules of Civil Procedure. (Frank Decl. ¶ 5.)

       5.      Defendants are not infants, not incompetent, and not on active duty in the United



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States military or otherwise exempted under the Servicemembers’ Civil Relief Act. (Id. at ¶¶ 6-

10, Exs. 1-4.)

       Accordingly, the Clerk should issue a certificate of entry of default against Defendants.

Dated: December 27, 2019                     Respectfully submitted,

                                             s/ Timothy M. Frank
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                                             Attorneys for Plaintiffs DISH Network
                                             L.L.C. and NagraStar LLC


                                CERTIFICATE OF SERVICE

      I certify that on December 27, 2019 the foregoing motion was served on Defendants Debra
Henderson, John Henderson, and Boom Media LLC by mailing a copy to the address where each
Defendant was served with Plaintiffs’ summons and complaint.




                                                    Aleksandra Ames




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